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Fill in this information to identify the case:

             Calrissian LP
Debtor name __________________________________________________________________

                                                                           Delaware
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    X None
    
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                            Operating a business
           fiscal year to filing date:          1/1/2017
                                           From ___________         to     Filing date          Other _______________________       0
                                                                                                                                   $________________
                                                  MM / DD / YYYY


           For prior year:                      1/1/2016
                                           From ___________         to     12/31/2016
                                                                           ___________          Operating a business                0
                                                                                                                                   $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________
           For the year before that:             1/1/2015
                                           From ___________         to     12/31/2015
                                                                           ___________          Operating a business
                                                                                                                                     0
                                                                                                                                   $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
           fiscal year to filing date:      1/1/2017
                                       From ___________             to      Filing date
                                                                                              ___________________________           0
                                                                                                                                  $________________
                                                  MM / DD / YYYY



           For prior year:                      1/1/2016
                                           From ___________         to      12/31/2016
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________           0
                                                                                                                                  $________________



           For the year before that:             1/1/2015
                                           From ___________         to       12/31/2015
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    Interest Income
                                                                                              ___________________________           85,479.46
                                                                                                                                  $________________




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Debtor              Calrissian LP
                   _______________________________________________________                     Case number (if known)_____________________________________
                   Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     
     X None

            Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________
             
     3.2.

            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     X None

            Insider’s name and address                          Dates         Total amount or value         Reasons for payment or transfer
     4.1.

            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code


            Relationship to debtor
            __________________________________________


     4.2.

            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code



            Relationship to debtor

            __________________________________________



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Debtor               Calrissian LP
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     X None
     
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     X None
     
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
                                                                                             JAMS c/o Jason Feaszell, Case Manager
                                                          Arbitration regarding Contractual __________________________________________                 X Pending
                                                                                                                                                       
             Nu Image, Inc. v. Calrissian LP, et al.
             _________________________________            ______________________________
                                                          Obligations and Breaches                Name
                                                                                                                                                        On appeal
                                                                                                    1601 Cloverfield Boulevard
                                                                                                  __________________________________________
             Case number                                                                          Street                                                Concluded
                                                                                                    Suite 370-S
                                                                                                  __________________________________________
              Ref. No. 1210033079
             _________________________________                                                      Santa Monica     CA             90404
                                                                                                  __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                       X Pending
                                                                                                                                                       
     7.2.
             SunTrust Bank v. Calrissian LP
             _________________________________            Civil suit regarding Guaranty of
                                                          ______________________________           Supreme Court of the State of New York
                                                                                                  __________________________________________            On appeal
                                                          Debt of Our Alchemy, LLC                Name                 Commercial Division              Concluded
             Case number                                                                           60 Centre Street
                                                                                                  __________________________________________
                                                                                                  Street
                                                                                                  __________________________________________
              Index No. 654148/2016
             _________________________________
                                                                                                                                     10007
                                                                                                   New York                NY
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


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Debtor                Calrissian LP
                     _______________________________________________________                           Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     X None
     
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     X None
     
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     X None
     
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


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Debtor             Calrissian LP
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Baker Botts LLP
           __________________________________________
   11.1.                                                      ___________________________________________                2/15/2017
                                                                                                                         ______________       65,000
                                                                                                                                             $_________
           Address
                                                              ___________________________________________
            30 Rockefeller Plaza
           __________________________________________
           Street
           __________________________________________
            New York                   NY            10112
           __________________________________________
           City                        State      ZIP Code


           Email or website address
           emanuel.grillo@bakerbotts.com
           _________________________________

           Who made the payment, if not debtor?

           Virgo Societas Partnership III (Onshore) LP and
           __________________________________________
           Virgo Societas Partnership III (Offshore) LP
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


            Morris, Nichols, Arsht & Tunnell LLP
           __________________________________________                                                                     2/9/2017
   11.2.                                                      ___________________________________________
                                                                                                                         ______________       25,000
                                                                                                                                             $_________
           Address                                            ___________________________________________
           1201 Market Street, PO Box 1347
           __________________________________________
           Street
           __________________________________________
            Wilmington             DE         19899
           __________________________________________
           City                        State      ZIP Code

           Email or website address
           rdehney@mnat.com
           __________________________________________


           Who made the payment, if not debtor?

           Virgo Societas Partnership III (Onshore) LP and
           __________________________________________
           Virgo Societas Partnership III (Offshore) LP
 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     X None
     
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________         ___________________________________________                 ______________      $_________

           Trustee                                            ___________________________________________
           __________________________________________




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Debtor            Calrissian LP
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     X None
     

           Who received transfer?                                Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.   __________________________________________            ___________________________________________                ________________    $_________

                                                                 ___________________________________________
           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________




           Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.   __________________________________________            ___________________________________________

           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
           Address                                                                                               Dates of occupancy


   14.1.    555 Twin Dolphin Drive, Suite 615
           _______________________________________________________________________                               From       9/13
                                                                                                                            ____________       To   9/16
                                                                                                                                                    ____________
           Street
           _______________________________________________________________________
            Redwood Shores                            CA           94065
           _______________________________________________________________________
           City                                              State         ZIP Code


   14.2.   _______________________________________________________________________                               From       ____________       To   ____________
           Street
           _______________________________________________________________________
           _______________________________________________________________________
           City                                              State         ZIP Code


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Debtor             Calrissian LP
                  _______________________________________________________                           Case number (if known)_____________________________________
                  Name




 Part 8:          Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?
     X No. Go to Part 9.
     
      Yes. Fill in the information below.
           Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ________________________________________           ___________________________________________________________                 ____________________
           Facility name
                                                              ____________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                          Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                           Electronically
                                                                                                                                          Paper

           Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.   ________________________________________           ___________________________________________________________                 ____________________
           Facility name
                                                              ___________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                          Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:          Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     X No.
     
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
                  Does the debtor have a privacy policy about that information?
            
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     X No. Go to Part 10.
     
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                         Name of plan                                                                           Employer identification number of the plan

                         _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                     Has the plan been terminated?
                      No
                      Yes

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Debtor             Calrissian LP
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.
     X None
     
           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
                                                                                            Savings
           Name
           ______________________________________
           Street                                                                           Money market
           ______________________________________
                                                                                            Brokerage
           ______________________________________
           City                  State       ZIP Code                                       Other______________

   18.2.   ______________________________________          XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
           Name
                                                                                            Savings
           ______________________________________
           Street                                                                           Money market
           ______________________________________
                                                                                            Brokerage
           ______________________________________
           City                  State       ZIP Code                                       Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     X None
     
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________         __________________________________          __________________________________              No
           Name
                                                          __________________________________          __________________________________
                                                                                                                                                      Yes
           ______________________________________
           Street                                         __________________________________          __________________________________             
           ______________________________________
           ______________________________________          Address
                                                                                                                                                     
           City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    X None
    
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                          __________________________________          __________________________________
                                                                                                                                                       Yes
           ______________________________________
                                                          __________________________________          __________________________________              
           Street                                         __________________________________          __________________________________
           ______________________________________
           ______________________________________           Address                                                                                   
           City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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Debtor            Calrissian LP
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     X None
     
          Owner’s name and address                              Location of the property                     Description of the property                 Value

                                                                                                                                                         $_______
          ______________________________________                __________________________________           __________________________________
          Name
                                                                __________________________________           __________________________________
          ______________________________________
          Street                                                __________________________________           __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X No
     
      Yes. Provide details below.
          Case title                                     Court or agency name and address                    Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________               __________________________________       Pending
          Case number                                    Name
                                                                                                             __________________________________
                                                                                                                                                      On appeal
          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                      Concluded
                                                                                                             __________________________________
                                                         _____________________________________                                                       
                                                         _____________________________________
                                                         City                    State        ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     X No
     
      Yes. Provide details below.
         Site name and address                           Governmental unit name and address                  Environmental law, if known            Date of notice


          __________________________________             _____________________________________               __________________________________       __________
          Name                                           Name
                                                                                                             __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                              __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State         ZIP Code




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Debtor             Calrissian LP
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     X
      No
      Yes. Provide details below.
           Site name and address                     Governmental unit name and address               Environmental law, if known                Date of notice


           __________________________________        ______________________________________           __________________________________           __________
           Name                                      Name
                                                                                                      __________________________________
           __________________________________        ______________________________________
           Street                                    Street                                           __________________________________
           __________________________________        ______________________________________
           __________________________________        ______________________________________
           City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:           Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     X None
     

           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.   OA Investment Holdings, LLC
           __________________________________         Owner of Bentonville Film Festival
                                                      _____________________________________________
           Name                                                                                                Dates business existed
                                                      _____________________________________________
            1201 Howard Avenue, 3rd Floor
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______             Present
                                                                                                                                    To _______
            Burlingame        CA       94010
           __________________________________
           City                  State    ZIP Code




           Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                       Do not include Social Security number or ITIN.

            Our Alchemy, LLC
           __________________________________          Distributor of Film and Television Content
                                                      _____________________________________________                 2 ___
                                                                                                               EIN: ___     2 ___
                                                                                                                        7 – ___ 1 ___
                                                                                                                                  9 ___
                                                                                                                                      0 ___
                                                                                                                                        7 ___
                                                                                                                                            0 ___
                                                                                                                                               8
           Name
                                                                                                               Dates business existed
            5900 Wilshire Boulevard, Floor 27
           __________________________________
                                                      _____________________________________________
           Street                                     _____________________________________________
           __________________________________                                                                       9/2014
                                                                                                               From _______            7/2016
                                                                                                                                    To _______
            Los Angeles       CA        90036
           __________________________________
           City                  State    ZIP Code



           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

   25.3.   __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                      _____________________________________________            Dates business existed
           __________________________________
           Street                                     _____________________________________________
           __________________________________
           __________________________________
                                                                                                               From _______         To _______
           City                  State    ZIP Code




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Debtor             Calrissian LP
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                                Dates of service

                                                                                                              From _______       To _______
   26a.1.      SS+C PEI Solutions
              __________________________________________________________________________________
              Name
                11 Commerce Drive
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
                Cranford                                    NJ                 07016
              __________________________________________________________________________________
              City                                              State                 ZIP Code


              Name and address                                                                                Dates of service

                                                                                                              From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                              State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            X None
            
                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.1.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code


                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                     Name and address                                                                         If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.       SS+C PEI Solutions
                     ______________________________________________________________________________           _________________________________________
                     Name
                      11 Commerce Drive
                     ______________________________________________________________________________
                                                                                                              _________________________________________
                     Street                                                                                   _________________________________________
                     ______________________________________________________________________________
                      Cranford                                     NJ                  07016
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



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Debtor                Calrissian LP
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              X None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  X No
  
  Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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Debtor             Calrissian LP
                  _______________________________________________________                      Case number (if known)_____________________________________
                  Name




           Name of the person who supervised the taking of the inventory                      Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

           ______________________________________________________________________             _______       $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name
           ______________________________________________________________________
           Street
           ______________________________________________________________________
           ______________________________________________________________________
           City                                                    State          ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                                Address                                               Position and nature of any             % of interest, if any
                                                                                                     interest
            Virgo Services Company, LLC
           ____________________________        1201 Howard Ave., 3rd Fl, Burlingame, CA_____
                                               ___________________________________      94010         General Partner/Manager
                                                                                                     ____________________________               59.59%
                                                                                                                                             _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

           ____________________________        _____________________________________________         ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
  X No
  
  Yes. Identify below.
           Name                                Address                                                Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

           ____________________________        _____________________________________________          ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  X No
  
  Yes. Identify below.
           Name and address of recipient                                             Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.   ______________________________________________________________             _________________________           _____________       ____________
           Name
           ______________________________________________________________
           Street                                                                                                        _____________
           ______________________________________________________________
           ______________________________________________________________                                                _____________
           City                                     State          ZIP Code

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________

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Debtor               Calirssian LP
                    _______________________________________________________                        Case number (if known)_____________________________________
                    Name




             Name and address of recipient
                                                                                           __________________________     _____________       ______________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________
             ______________________________________________________________
             Street                                                                                                       _____________
             ______________________________________________________________
             ______________________________________________________________                                               _____________
             City                                           State      ZIP Code


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     X No
     
      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     X No
     
      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:             Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on       02/15/2017
                             _________________
                              MM / DD / YYYY



          /s/ Jesse Watson
            ___________________________________________________________                                Jesse Watson
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Manager, Virgo Services Company, LLC, General Partner of Calrissian LP
            Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
     
     X No
      Yes


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